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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 STATE OF NEW MEXICO, et al.,

                                         Plaintiffs,
 v.                                                          Case No. 1:25-cv-00429-TSC (Lead)

 ELON MUSK, in his official capacity, et al.,

                                      Defendants.


 JAPANESE AMERICAN CITIZENS
 LEAGUE, et al.,

                                         Plaintiffs,         Case No. 1:25-cv-00643-TSC
 v.

 ELON MUSK, in his official capacity, et al.,

                                      Defendants.



                                 NOTICE OF AMENDED FILING

         Plaintiffs Japanese American Citizens League (JACL), OCA – Asian Pacific American

Advocates (OCA), Sierra Club, and Union of Concerned Scientists (UCS) provide notice to the

Court as to their Amended Motion for Leave to Identify Plaintiffs’ Declarant by Pseudonym. The

only changes via amendment are as follows:


•     Plaintiffs have added Defendants’ position on the motion: “Although Defendants do not object

      to the declarant proceeding under pseudonym, Defendants do object to Plaintiffs’ refusal to

      provide the identity of the declarant to career government counsel pursuant to an appropriate

      protective order in order to properly defend this case.”

•     Plaintiffs have added two sentences regarding Plaintiffs’ position as to Defendants’ position:

      “With respect to the provision of the declarant’s name to career government counsel pursuant

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    to a protective order, Plaintiffs do not view these protections as sufficient to protect the

    declarant from retaliation in light of executive branch actors’—including DOGE employees’—

    access to information in governmental computer systems. Plaintiffs are prepared to brief this

    issue as needed and as helpful to the Court.”

•   Plaintiffs have changed the language on page 1, “Prior to filing today, at 1:02 PM ET,” to “Prior

    to filing, at 1:02 PM ET on March 21.”

Plaintiffs have made no other changes to the filing. Counsel for Defendants notified counsel for

Plaintiffs this morning that they had sent an email yesterday to counsel for Plaintiffs regarding

their position. Counsel for Plaintiffs did not receive the original email yesterday from counsel for

Defendants. Accordingly, and following correspondence among counsel today, Plaintiffs provide

this amended filing.




Date: March 22, 2025                                    Respectfully submitted,

                                  /s/ Bruce V. Spiva
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                              Counsel for Plaintiffs Japanese American
                              Citizens League, OCA-Asian Pacific American
                              Advocates, Sierra Club, and Union of Concerned
                              Scientists


                              * D.D.C. application pending
                              **Application for pro hac vice forthcoming
                              ***Admitted pro hac vice




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